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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

JIMMY LYONS,
Plaintiff,

Vv. Case No. 3:19-cv-2457-5-BT
STARBUCKS COFFEE COMPANY,
et al.,

Defendants.

ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND
RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

The Court has under consideration the Findings, Conclusions, and
Recommendation of United States Magistrate Judge Rebecca Rutherford dated
August 24, 2020. The Court has reviewed the Findings, Conclusions, and
Recommendation for plain error. Finding none, the Court accepts the Findings,
Conclusions, and Recommendation of the United States Magistrate Judge.

SO ORDERED.

SIGNED September 24, 2020.

‘UNITED STATES DISTRICT JUDGE

 

 

 
